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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

ANDREW TETER and
JAMES GRELL,

Plaintiffs,
V.

CLARE E. CONNORS, in her
Official Capacity as the Attorney
General of the State of Hawaii, and
AL CUMMINGS, in his Official
Capacity as the State Sheriff Division
Administrator,

Defendants.

Civil No. CV19-00183-ACK-WRP

MEMORANDUM IN SUPPORT OF
MOTION

MEMORANDUM IN SUPPORT OF MOTION

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I. INTRODUCTION

The Plaintiffs allege that Defendants CLARE E. CONNORS, in her official
capacity as the Attorney General of the State of Hawaii, and AL CUMMINGS, in
his official capacity as the State Sheriff Division Administrator (hereinafter
“Defendants”), in their official capacity and responsibility to enforce Hawaii laws,
violated their Second Amendment constitutional rights by preventing them from
acquiring, possessing, carrying, and using butterfly knives. They seek an injunction
preventing enforcement against them of Hawaii Revised Statutes (“HRS”) § 134-
53, pertaining to butterfly knives. They also allege that HRS § 134-53 is
unconstitutional, and seek declaratory judgment that HRS § 134-53 violates the
Second Amendment.

Defendants deny that HRS § 134-53 is unconstitutional and violative of the
Second Amendment, and that Plaintiffs are entitled to the relief that they seek..

Il. FACTS

A. The Law and Legislative History.

Butterfly knives have been banned in Hawaii since 1999. See HRS § 134-53,
attached as Exhibit A. Under the law, it is a crime to manufacture, sell, transfer,
possess, or transport any butterfly knife, or to knowingly possess or intentionally
use or threaten to use a butterfly knife while engaged in the commission of a crime.

According to their Complaint, Plaintiffs claim that but for the law, they would

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“acquire, possess, carry and where appropriate use a butterfly knife to protect
himself, his home, his family and business.” See ECF 1, Paragraphs 94 and 102.
Neither Plaintiff alleges any facts that they have been charged with a crime under
HRS § 134-53, therefore, their only claim in this case is a facial challenge to the
constitutional validity of HRS § 134-53.
In 1999, the Hawaii State Legislature passed HRS § 134-53 in response to
the Hawaii Supreme Court case of In Interest of Doe, 73 Haw. 89, 828 P.2d 272
(1992). A copy of the case is attached as Exhibit B. The Doe court also found that
a butterfly knife did not fall within the definition of a “switchblade knife” and was
therefore not banned under HRS § 134-52. See HRS § 134-52, attached as Exhibit
C. In light of Doe, the Legislature specifically sought to prohibit butterfly knives
by enacting HRS § 134-53. The Legislature’s Senate Committee on Judiciary
noted in its Standing Committee Report No. 1389, in 1999 Senate Journal, at 1558-
59 (“S. Stand. Comm. Rep. No. 1389”):
Your Committee finds that certain types of knives,

particularly switchblade and butterfly knives, are

associated with gang activity. Your Committee believes

that butterfly knives (also known as balisongs or gravity

knives) appear to be covered within the statutory

definition of switchblade knives. However, your

Committee further finds that although switchblade knives

are presently illegal, stores openly sell, and minors can

readily purchase, butterfly knives.

Your Committee is aware, however, that the

Hawaii Supreme Court, in In the Interest of John Doe,
(FC-J No. 91-55223), has held that a butterfly knife does

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not have a blade that opens automatically by operation of
inertia, gravity, or both, and thus is not a switchblade
knife under section 134-52, Hawaii Revised Statutes. The
court reasoned that the legislative history of section 134-
52 did not expressly indicate whether the legislature
intended to include butterfly knives under this statute.
Therefore, it is your Committee's intent to clarify that
butterfly knives should be treated in the same manner as
switchblade knives.

Testimony in support of this measure was
submitted by the Department of the Prosecuting Attorney
of the City and County of Honolulu, the Honolulu Police
Department, and a private citizen. Testimony in
opposition to this measure was submitted by the Office of
the Public Defender and the Pedoy School of Escrima.

See Exhibit D, attached.

The Legislature received testimony in favor of and against the proposed law.
In testimony in favor of the law, the Honolulu Police Department pointed out:
“Our Gang Detail has noticed an increasing trend in minors and gang members
armed with knives and daggers. Butterfly knives are preferred as they are easy to
conceal and are more intimidating when brandished.” See Letter dated March 16,
1999, to The Honorable Avery B. Chumbley, Co-Chair, The Honorable Matthew
M. Matsunaga, Co-Chair and Members Committee on Judiciary, The Senate, from
George McKeague, Captain, Criminal Investigation Division, Honolulu Police
Department. See Exhibit E, Legislative History at SOH 00025, attached.

B. Butterfly Knife Origin and Brandishing.

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The origin of the butterfly knife or balisong appears unclear. Plaintiffs claim
that the butterfly knife was first created in the Philippines in 800 CE, but
acknowledge that “there is no documentation or archeological evidence to back
this.” See ECF 1, Paragraph 79. The origin appears debatable, with France also
cited as a place of origin. Knives Deal, https://www.knivesdeal.com/the-balisong-
knife-here-is-everything-you-need-to-know (last visited January 15, 2020). See
attached Exhibit F, attached. See also Blade Magazine, https://blademag.com/knife
-history/history-the-disputed-origins-of-the-butterfly-knife (last visited January 15,
2020). See attached Exhibit G, attached.

Interestingly, it appears that the butterfly knife has been outlawed in the
Philippines for similar reasons it was outlawed in Hawaii in 1999. “In the
Philippines, it is generally illegal to carry one without identification or a proper
permit in the streets of the capital because of their prevalent use in crimes and
altercations.” Wikipedia, https://en.wikipedia.org/wiki/Butterfly_knife (last visited
January 14, 2020). See attached Exhibit H, attached. See also The Art of the
Butterfly Knife, http://www.butterflyknifebutterflyknife.com/Butterfly_Knife
_Legal_Status.html (last visited January 15, 2020) (“Because of their prevalent use
in altercations and crimes, it is illegal to carry a Butterfly knife Butterfly knife
without identification or a proper permit in the capital streets of Manila.”). See

attached Exhibit I, attached.

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A butterfly knife can be opened and ready for use very quickly. See Fast
opening of BALISONG aka BUTTERFLY KNIFE, YouTube (Dec 28, 2015),
https://www.youtube.com/watch?v=Q-xd-kZHttU; BUTTERFLY KNIFE WORLDS
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YouTube (Mar 3, 2017), https://www.youtube.com/watch?v=-6X1leV_4bQU.

Ill. HRS § 134-53 DOES NOT VIOLATE THE SECOND AMENDMENT

Hawaii’s law banning butterfly knives, HRS § 134-53, does not violate the
Second Amendment. There are no Ninth Circuit cases directly on point. But even
assuming for the sake of argument that knives could be considered “arms” under
the Second Amendment, butterfly knives would not be constitutionally protected.

For Second Amendment cases, the Ninth Circuit follows a two-step analysis.
Jackson v. City & County of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014).
“The two-step inquiry ... ‘(1) asks whether the challenged law burdens conduct

protected by the Second Amendment and (2) if so, directs courts to apply an

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appropriate level of scrutiny.’” Jd. In the first step, the question is “whether the
challenged law burdens conduct protected by the Second Amendment based on a
‘historical understanding of the scope of the Second Amendment right,’ or whether
the challenged law falls within a ‘well-defined and narrowly limited’ category of

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prohibitions ‘that have been historically unprotected.’” Jd. (citations and brackets
omitted). “If a prohibition falls within the historical scope of the Second
Amendment, [the court] must then proceed to the second step of the Second
Amendment inquiry to determine the appropriate level of scrutiny.” Jd.

When ascertaining the appropriate level of scrutiny, the court considers: “(1)
‘how close the law comes to the core of the Second Amendment right’ and (2) ‘the
severity of the law’s burden on the right.’ Jd. at 960-61. If a challenged law does
not implicate a core Second Amendment right or does not place a substantial
burden on the Second Amendment right, then intermediate scrutiny may be
applied. /d. at 961. Intermediate scrutiny “requires (1) the government’s stated
objective to be significant, substantial, or important; and (2) a reasonable fit
between the challenged regulation and the asserted objective.” United States v.

Chovan, 735 F.3d 1127, 1139 (9th Cir. 2013).

A. Butterfly Knives Fall Within the Exception for Dangerous and
Unusual Weapons and are not Protected by the Second Amendment.

The first step in the analysis turns on whether butterfly knives fall within the

“dangerous and unusual weapons” exception. District of Columbia v. Heller, 554

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U.S. 570 (2008), expressly stated that “the right [secured by the Second
Amendment] [is] not a right to keep and carry any weapon whatsoever in any
manner whatsoever and for whatever purpose.” Jd. at 626. Heller recognized the
“important limitation on the right to keep and carry arms” that “is fairly supported
by the historical tradition of prohibiting the carrying of “dangerous and unusual
weapons.’” Id. at 627. “[T]he Second Amendment right . . . extends only to certain
types of weapons.” /d. at 623. “[T]he Second Amendment does not protect those
weapons not typically possessed by law-abiding citizens for lawful purposes, such
as short-barreled shotguns.” Jd. at 625. If a weapon falls within the exception, then
it is not protected by the Second Amendment and the analysis ends. If it does not
fall within the exception, then the analysis proceeds to the second step. A weapon
falls within the dangerous and unusual weapons exception if it is “dangerous and
unusual” and if it is not “typically possessed by law-abiding citizens for lawful
purposes.” United States v. Henry, 688 F.3d 637, 640 (9th Cir. 2012).

The Ninth Circuit has applied this exception to machine guns, silencers,
grenades, and directional mines, on the ground that these weapons are not
“typically possessed by law-abiding citizens for lawful purposes.” Jd. at 640;
United States v. McCartney, 357 F. App’x 73, 76 (9th Cir. 2009). Furthermore,
English v. State, 35 Tex. 473 (1871), a case that was expressly cited by the

Supreme Court in Heller, 554 U.S. at 627, in support of the dangerous and unusual

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weapons exception, upheld a statute banning “. . . dirks, daggers, slungshots,
swordcanes, spears, brass-knuckles and bowie knives.” English, 35 Tex. at 474.

Switchblades have also been held not to be typically possessed by law-
abiding citizens for lawful purposes. In Lacy v. State, 903 N.E.2d 486, 490 (Ind.
Ct. App. 2009), the Indiana Court of Appeals upheld the constitutionality of
Indiana’s ban on switchblades. The Lacy court concluded that “we cannot say that
switchblades are typically possessed by law-abiding citizens for self defense
purposes.” Id. at 492. The court cited the “Federal Anti-Switchblade Act” (aka the
Federal Switchblade Act), which has long made importation of switchblades illegal
under federal law. Jd. (citing 15 U.S.C. §§ 1241-1245). The Lacy court also cited
the legislative history of the federal act, which provided that the “problem of the
use of switchblades and other quick opening knives for criminal purposes has
become acute during recent years — particularly by juvenile delinquents in large
urban areas,” and that “police chiefs, almost without exception, indicate that these
vicious weapons are on many occasions the instruments used by juveniles in the
commission of robberies and assaults.” Jd. (quoting S. Rep. 85-1980, 85th Cong.
2d. Sess. (1958), 1958 U.S.C.C.A.N. 3435, 3436-3437).

The Seventh Circuit, in Crowley Cutlery Co. v. United States, 849 F.2d 273,
278 (7th Cir. 1988), held that “[s]witchblade knives are more dangerous than

regular knives because they are more readily concealable and hence more suitable

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for criminal use.” The Eighth Circuit noted in United States v. Nelsen, 859 F.2d

1318 (8th Cir. 1988):
Congress stated its reasons for adopting the [Switchblade
Knife Act] quite plainly. Switchblade knives were
increasingly being used for criminal purposes, especially
by young gang members. Some states had tried to
regulate or ban the knives, but easy access to knives from
other states through the mail order business continually
frustrated such efforts. Congress decided to stop this
interstate flow totally by using the commerce power. See
S.Rep. No. 1980, 1958 U.S.Code Cong. & Admin.News
at 3436-37.

Nelsen, 859 F.2d at 1320.

Butterfly knives are highly analogous to switchblades in that both are
concealable. The blade for both types of knives fits into the handle and therefore
these knives are able to be hidden in clothing. Both types of knives can be
deployed quickly. Strictly speaking, a switchblade generally uses a spring
mechanism to open the blade, while a butterfly knife uses gravity or inertia to flip
the blade open.’ Both types of knives are popular with criminals and gang
members because of these features. See S. Stand. Comm. Rep. No. 1389, in 1999
Senate Journal, at 1558-59 (switchblades and butterfly knives are associated with

gang activity). Therefore, butterfly knives, like switchblades, are “unusual” in that

they are not “typically possessed by law-abiding citizens for lawful purposes”.

' Some jurisdictions, however, more broadly define switchblades to include
mechanisms that rely on gravity or inertia to open the blade as well. See infra
footnote 2.

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The legislative history of HRS § 134-53 supports treating butterfly knives
analogously to switchblades. In In re John Doe, born August 3, 1977, 73 Haw. 89,
95, 828 P.2d 272, 275-76 (1992), the Hawaii Supreme Court held that butterfly
knives do not fall within the statutory definition of switchblades in HRS § 134-52.
In response, the Hawaii legislature enacted a new and separate section, HRS § 134-
53, specifically prohibiting possession of butterfly knives. 1999 Haw. Sess. Laws
Act 285, § 1. The Senate Judiciary Committee noted: “Your Committee finds that
certain types of knives, particularly switchblades and butterfly knives, are
associated with gang activity. .. . However, your Committee further finds that
although switchblade knives are presently illegal, stores openly sell, and minors
can readily purchase, butterfly knives. ... Therefore, it is your Committee’s intent
to clarify that butterfly knives should be treated in the same manner as
switchblade knives.” S. Stand. Comm. Rep. No. 1389, in 1999 Senate Journal, at
1558-59 (emphasis added).’

It should also be noted that Hawaii has long regulated possession of “deadly

weapons.” In 1852, the Kingdom of Hawaii enacted a statute making it a criminal

* The relationship between butterfly knives and switchblades is even closer in some
jurisdictions. The Sixth Circuit interpreted the definition of switchblades in the
federal Switchblade Knife Act as encompassing butterfly knives. Taylor v. United
States, 848 F.2d 715, 720, (6th Cir. 1988). California and New Mexico have also
applied their laws regulating switchblades to butterfly knives. People ex rel.
Mautner v. Quattrone, 260 Cal. Rptr. 44, 45-48 (Cal. Ct. App. 1989); State v.
Riddall, 811 P.2d 576, 577-80 (N.M. Ct. App. 1991).

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offense for “[a]ny person not authorized by law” to “carry, or be found armed with,
any bowie-knife, sword-cane, pistol, air-gun, slung-shot or other deadly
weapon[.]” 1852 Haw. Sess. Laws Act of May 25, 1852, § 1 at 19; see also
Republic of Hawaii v. Clark, 10 Haw. 585, 587-88 (1897). Therefore, the
regulation of dangerous weapons, including bladed weapons that are concealable
(e.g., sword-canes and bowie-knives), is a longstanding prohibition in Hawaii. See
Heller, 554 U.S. at 626 (“longstanding prohibitions” not affected by Heller).
Butterfly knives and switchblades are also clearly “dangerous” in that people
can be severely injured or killed by them. “An object is ‘dangerous’ when it is
‘likely to cause serious bodily harm.’” Henry, 688 F.3d at 640 (quoting Black’s
Law Dictionary 451 (9th ed.2009)). And the fact that butterfly knives and
switchblades are concealable means that they are more dangerous than ordinary
knives, much like the way sawed-off shotguns are more dangerous than ordinary
firearms. See Heller, 554 U.S. at 625 (short-barreled shotguns as dangerous and
unusual weapons); Lacy, 903 N.E.2d at 492 n.3 (finding that ban on sawed-off
shotguns is analogous to ban on switchblades); Carson v. State, 247 S.E.2d 68, 73
(Ga. 1978) (sawed-off shotgun statute upheld because they are “of a size such as
can easily be concealed and which are adapted to and commonly used for criminal

purposes’’); State v. LaChapelle, 451 N.W.2d 689, 691 (Neb. 1990) (upholding ban

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on machine guns, short rifles, and short shotguns because they are “readily
concealed” and used for “‘a criminal purpose’).

Consequently, the reasons supporting the ban on butterfly knives are the
same as those supporting the ban on switchblades. Both are more dangerous than
ordinary knives and are not “typically possessed by law-abiding citizens for lawful
purposes”. Therefore, they are dangerous and unusual weapons and do not fall
within the scope of the Second Amendment.

B. Hawaii’s Ban on Butterfly Knives Survives Intermediate Scrutiny.

HRS § 134-53 does not implicate a core Second Amendment right because
the core of the Second Amendment is self-defense within the home. Jackson, 746
F.3d at 963-64. Clearly, butterfly knives are not a “quintessential self-defense
weapon” for defense in the home, like handguns. See Heller, 554 U.S. at 629.
Furthermore, “regulations which leave open alternative channels for self-defense
are less likely to place a severe burden on the Second Amendment right than those
which do not.” Jackson, 746 F.3d at 961. Here, HRS § 134-53 does not interfere
with the use of other types of knives, or any other instruments, for self-defense.
Only butterfly knives, specifically defined as “a knife having a blade encased in a
split handle that manually unfolds with hand or wrist action with the assistance of
inertia, gravity, or both,” are prohibited. Therefore, intermediate scrutiny should be

applied.

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The government’s objective in banning butterfly knives was to protect
public safety by reducing access to such weapons by criminal gang members,
which is clearly a “significant, substantial, or important” state interest. And there is
a “reasonable fit” between the challenged regulation and the asserted objective in
that HRS § 134-53 bans only butterfly knives, which are specifically defined as “a
knife having a blade encased in a split handle that manually unfolds with hand or
wrist action with the assistance of inertia, gravity, or both[.]” It is not a complete
ban on all knives. See Lacy, 903 N.E.2d at 492 (Indiana switchblade law upheld
because it is not a complete ban on all knives but only “knives that open
automatically or may be propelled . . . by hand pressure applied to a button, device
containing gas, spring, or other device in the handle of the knife”). Therefore, the
regulation is tailored to the state’s objective. For these reasons, HRS § 134-53
survives intermediate scrutiny.

In State v. Murillo, 347 P.3d 284 (N.M. Ct. App. 2015), the New Mexico
Court of Appeals upheld New Mexico’s switchblade ban against a challenge under
the Second Amendment and the equivalent provision of the state constitution. Id. at
292. The court applied intermediate scrutiny because the switchblade statute:

Viewed from any approach, the switchblade statute is a
modest infringement. Because Section 30—7—8 bans only
a small subset of knives, which are themselves a
peripheral subset of arms typically used for self-defense

or security, the statute effects an unsubstantial burden on
the right to keep and bear arms. Cf. Heller I, 554 U.S. at

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629, 128 S.Ct. 2783 (“[T]he American people have
considered the handgun to be the quintessential self-
defense weapon.... [H]andguns are the most popular
weapon chosen by Americans for self-defense in the
home[.]’”). And switchblades are designed for uses that
are remote from the core of the right to keep and bear
arms.

Murillo at 288.

The court further noted that Congress had passed a statute in 1958, the
Federal Switchblade Act, 15 U.S.C. § 1241-1242 (2013), “still in effect,” that
banned importation of switchblades in order to address “[t]he problem of the use of
switchblade and other quick-opening knives for criminal purposes[.]” Jd.

In applying intermediate scrutiny, the court noted that the switchblade is
“designed for quick use in a knife fight,” and is “by design and use, almost
exclusively the weapon of the thug and the delinquent.” Jd. at 289. The court held
that the protection of the public from the surprise use of a dangerous weapon
utilized in large part for unlawful activity is an important governmental purpose.
Id. The court further held that prohibiting possession of this weapon is

substantially related to that purpose. Jd.

IV. CONCLUSION

For the same reasons that New Mexico’s switchblade statute survived
intermediate scrutiny, Hawaii’s butterfly knife statute should survive intermediate

scrutiny.

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Dated: Honolulu, Hawaii, January 15, 2020.
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